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     1
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     8   BROTHERS & ASSOC., INC.

     9                               UNITED STATES DISTRICT COURT

    10                              CENTRAL DISTRICT OF CALIFORNIA

    11
         NEMAN BROTHERS & ASSOC., INC., a           Case No.: 2:20-cv-11181-CAS-JPR
    12 California Corporation,
                                                    STATEMENT OF CONTROVERTED
    13                 Plaintiff,                   FACTS AND CONCLUSIONS OF
                                                    LAW IN OPPOSITION TO
    14          v.                                  DEFENDANT AND
                                                    COUNTERCLAIM DEFENDANT
    15 INTERFOCUS, INC. d.b.a.                      INTERFOCUS, INC. D.B.A.
         www.patpat.com, a Delaware Corporation;    WWW.PATPAT.COM’S MOTION
    16 CAN WANG, and individual, and DOES           FOR PARTIAL SUMMARY
         1-10, inclusive,                           JUDGMENT
    17
                       Defendants.                  Date: August 16, 2021
    18                                              Time: 10:00 am
                                                    Courtroom: 8D
    19
                                                    Honorable Christine A. Snyder
    20 INTERFOCUS, INC. d.b.a.
         www.patpat.com, a Delaware Corporation;
    21 CAN WANG, and individual, and DOES
         1-10, inclusive,
    22
                       Counterclaim Plaintiffs,
    23          v.
    24 NEMAN BROTHERS & ASSOC., INC., a
         California Corporation,
    25
                       Counterclaim Defendant.
    26

    27

    28
                                        -1-
                 NEMAN BROTHERS’ STATEMENT OF CONTROVERTED FACTS AND
                           CONCLUSIONS OF LAW IN OPPOSITION
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     1         Plaintiff Neman Brothers hereby submits its Statement of Controverted Facts and
     2 Conclusions of Law in opposition to Defendant and counterclaimant InterFocus, Inc. d.b.a.

     3 www.patpat.com (“InterForucs”)’s Motion for Summary Judgment as follows:

     4                      STATEMENT OF UNCONTROVERTED FACTS
     5
                       Undisputed Fact                              Neman Brother’s Response
     6
           1. Neman Brothers is a California                 Undisputed.
     7
         company that has filed almost a hundred
     8   copyright infringement actions in this              Objection. irrelevant
     9   Court,
    10     2. Summary judgment previously has                Undisputed
    11   been entered against Neman Brothers for,
    12   inter alia, refiling released copyright
    13   infringement claims.

    14     3. Neman Brothers first filed suit                Undisputed

    15   against Interfocus in Neman Brothers &
         Assoc. Inc v. Interfocus, Inc., Case No.
    16
         2:19-CV-10112, before the Hon. John A.
    17
         Kronstadt. (The “Previous Action.”)
    18
           4. Although InterFocus disputed its               Disputed
    19
         liability in that action, due to the relatively     ** According to Interfocus interpretation
    20
         small volume of sales of disputed items, it         of “Cure”, Interfocus is free to use Neman
    21
         entered into a “nuisance value” settlement          Brothers’ designs as long as they don’t get
    22
         on confidential terms (the “Previous                caught, and even if getting caught,
    23   Settlement Agreement” or “PSA.”)                    Interfocus should be find as long as it
    24                                                       removes the garments within seven days
    25                                                       after notice, which is a de facto unlimited
    26                                                       license. Interfocus here also says Neman
    27                                                       Brothers received only “Nuisance Value”
    28
                                                           -1-
                  NEMAN BROTHERS’ STATEMENT OF CONTROVERTED FACTS AND
                            CONCLUSIONS OF LAW IN OPPOSITION
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     1
                      Undisputed Fact                             Neman Brother’s Response
     2
                                                       in return for such an unlimited license
     3
                                                       which makes no reasonable sense.
     4

     5                                                 Objection: mischaracterization and vague
     6     5. Neman Brothers released InterFocus       Disputed.
     7   from liability for all claims Neman           the release was given “to the extent it
     8   Brothers asserted or could have asserted in   relates to the past sale of the garments by
     9   the Previous Action in the PSA.               InterFocus, shown in Exhibits C-1 through

    10                                                 C-7 attached to the complaint (Docket No.

    11                                                 1) in the Action filed on 11/26/2019.”
                                                       Defendant’s Redacted Exhibit 2, Section 7.
    12
                                                       The prior settlement agreement was
    13
                                                       executed as of March 2020. Defendant’s
    14
                                                       Redacted Exhibit 2, Section 7. Jeong Decl.
    15
                                                       II. ⁋34.
    16

    17
                                                       Objection: a document speaks for itself.
    18
           6. In the PSA, Neman Brothers Neman         Disputed.
    19   Brothers agreed to give InterFocus written    Interfocus’ argument for “cure” is based on
    20   notice of any future alleged infringement     its own self-serving mischaracterization,
    21   of intellectual property, and allowed         and misstatement and/or omission of the
    22   InterFocus seven business days thereafter     relevant facts in evidence. In order to avoid
    23   to “cure” it by removing the allegedly        putting extensive amount of facts in one
    24   infringed products from its platform.         box to dispute this, Neman Brothers

    25                                                 presents the misstted and omitted facts

    26
                                                       below. Please refer to the additional facts
                                                       stated below.
    27

    28
                                          -2-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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     1
                      Undisputed Fact                         Neman Brother’s Response
     2
                                                       Objection: a document speaks for itself.
     3
           7. In the PSA, Neman Brothers agreed        Disputed.
     4   that it would not file a lawsuit against      Interfocus’ argument for “cure” is based on
     5   InterFocus for an alleged infringement for    its own self-serving mischaracterization,
     6   30 days after giving InterFocus after giving and misstatement and/or omission of the
     7   written notice so the parties could resolve   relevant facts in evidence. In order to avoid
     8   the dispute amicably by, for example,         putting extensive amount of facts in one
     9   InterFocus curing the alleged                 box to dispute this, Neman Brothers

    10   infringements as provided earlier in that     presents the misstted and omitted facts

    11   paragraph.                                    below. Please refer to the additional facts
                                                       stated below.
    12

    13
                                                       Objection: a document speaks for itself.
    14
           8. InterFocus fully complied with all of    Disputed.
    15
         its obligations under the PSA following its   Interfocus’ argument for “cure” is based on
    16
         execution.                                    its own self-serving mischaracterization,
    17
                                                       and misstatement and/or omission of the
    18
                                                       relevant facts in evidence. In order to avoid
    19                                                 putting extensive amount of facts in one
    20                                                 box to dispute this, Neman Brothers
    21                                                 presents the misstted and omitted facts
    22                                                 below. Please refer to the additional facts
    23                                                 stated below.
    24     9. Neman Brothers dismissed its claims      Undisputed.

    25   against InterFocus with prejudice in the

    26   Previous Action, as the PSA required it to
         do.                                           Objection: irrelevant.
    27

    28
                                          -3-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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     1
                      Undisputed Fact                        Neman Brother’s Response
     2
           10. As required by the Previous          Undisputed.
     3
         Settlement Agreement, Neman Brothers
     4   sent InterFocus a letter intended to
     5   constitute “Adequate Notification” under
     6   the PSA on or about September 15, 2020
     7   (the “September 15 letter”)
     8     11. The September 15 Letter alleged      Disputed.
     9   infringement of Neman Brothers’ alleged    The letter stated the infringements as

    10   copyrights in the following six fabric     below.

    11   patterns on the following garments:        “Our investigation has recently revealed
                                                    your company, InterFocus, Inc. dba
    12
                                                    PatPat.com, is producing, manufacturing,
    13
                                                    distributing, and/or offering for sale
    14
                                                    garments (Exhibits 2, 4 and 5) which
    15
                                                    infringe our client’s copyrights in a two
    16
                                                    dimensional artworks, NB170268 (Exhibit
    17
                                                    1) and NB161106 (Exhibit 3) (“Subject
    18                                              Designs”).” Interfocus Exhibit 4 (docket
    19                                              no. 35-5)
    20                                              It further stated;
    21                                              “under 17 U.S.C. § 504(c), your company
    22                                              may be liable for statutory damages of up
    23                                              to $150,000.00. In this present case,

    24                                              Interfocus was put on clear notices as to

    25                                              our client’s designs and copyrights because
                                                    the two Subject Designs in this case were
    26
                                                    also litigated
    27

    28
                                          -4-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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     1
                      Undisputed Fact                         Neman Brother’s Response
     2
                                                     in the prior case. (Exhibits 6 and 7).
     3
                                                     However, Interfocus again sold the
     4                                               Accused Garments
     5                                               bearing the same designs thereupon, which
     6                                               establishes Interfocus’
     7                                               reckless/intentional/knowing disregards of
     8                                               our client’s designs and copyrights,
     9                                               sufficiently supporting claims for willful

    10                                               infringement.” Interfocus Exhibit 4 (docket

    11
                                                     no. 35-5)

    12

    13
                                                     Objection:
    14
                                                     a document speaks for itself.
    15
                                                     Misstating the contents of the letter at
    16
                                                     issue.
    17
           12. After receiving the September 15      Disputed.
    18   Letter, InterFocus immediately launched     Interfocus never produced any real
    19   an investigation into Neman Brothers’       evidence supporting the statement.
    20   claims in compliance with its obligations
    21                                               Objection.
    22                                               Lack of foundation
    23     13. In investigating Neman Brothers’      Disputed.
    24   claims in the September 2015 Letter,        Interfocus’ letter on October 5, 2020

    25   discovered that it had already removed      admits the garments were not removed
         from its platform three of the alleged      until September 16-17, 2020. Ex. 33.
    26
         infringements Neman Brothers’ letter
    27

    28
                                          -5-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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     1
                      Undisputed Fact                      Neman Brother’s Response
     2
         complained of before it entered into the   Objection.
     3
         Previous Settlement Agreement as follows: A document speaks for itself.
     4                                              Misstating the facts in the evidence.
     5

     6

     7

     8

     9

    10

    11

    12

    13

    14     14. In response to the September 2015    Undisputed.
    15   Letter, InterFocus also removed from its

    16   platform the other three alleged

    17   infringements within seven business days
         of receiving the September 15,
    18
         Letter as follows:
    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                          -6-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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     1
                      Undisputed Fact                         Neman Brother’s Response
     2

     3

     4

     5

     6
           15. Neman Brothers filed its original       Undisputed.
     7
         complaint herein on December 9, 2020.
     8
           16. Neman Brothers’ complaint               Undisputed
     9
         repeated the allegations of the September
    10
         15 letter and Previous Action regarding
    11   those three released alleged infringements.   Objection.
    12                                                 A document speaks for itself.
    13     17. Neman Brothers filed a First            Undisputed.
    14   Amended Complaint on January 5, 2021.
    15     18. Neman Brothers’ First Amended           Undisputed.
    16   Complaint added new copyright
    17   infringement claims about which it never

    18   sent InterFocus a written notice of alleged

    19
         infringements.
           19. InterFocus removed these new            Disputed.
    20
         alleged infringements from its platform as    Interfocus’ argument for “cure” is based on
    21
         permitted by the “notice and cure”            its own self-serving mischaracterization,
    22
         provision of the PSA.                         and misstatement and/or omission of the
    23
                                                       relevant facts in evidence. In order to avoid
    24
                                                       putting extensive amount of facts in one
    25
                                                       box to dispute this, Neman Brothers
    26                                                 presents the misstted and omitted facts
    27

    28
                                          -7-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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     1
                      Undisputed Fact                              Neman Brother’s Response
     2
                                                          below. Please refer to the additional facts
     3
                                                          stated below.
     4

     5                                                    Objection.
     6                                                    Mischaracterization and misstatement of
     7                                                    the facts in evidence.
     8     20. InterFocus has lost employee time          Disputed.
     9   and incurred legal fees defending this           Interfocus never produced any real

    10   action.                                          evidence.

    11
                                                          Objection.
    12
                                                          Irrelevant. Lack of foundation.
    13

    14                       Neman Brothers’ Statement of additional facts
    15   21. The word “cure” as a verb in plain English,
                                                                       Jeong Decl. ⁋4.
    16   according to the Oxford Dictionary, means;
    17   verb
                   1. relieve (a person or animal) of the
    18
                      symptoms of a disease or condition.
    19                "he was cured of the disease"
                   2. preserve (meat, fish, tobacco, or an animal
    20                skin) by various methods such as salting,
    21                drying, or smoking.
                      "home-cured ham"
    22

    23   22. In this present case, the section 5 using the word
                                                                       Jeong Decl. ⁋4; Interfocus’
    24   “cure” clarifies what the section intended by expressly
                                                                       Sealed Exhibit 3 and
    25   providing;
                                                                       Redacted Exhibit 2.
    26                 “Plaintiff agrees that it will not file a
                       lawsuit or lodge a complaint against
    27
                       Defendant for an alleged infringement
    28
                                          -8-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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  1                     before the expiration of thiity (30) days
  2                     after given Defendant Adequate Notice
  3                     of the alleged infringement to allow
  4                     Paities time to resolve the dispute

  5                     ainicably.”

  6       23. Obvious is that the Parties agreed “dispute” remains
                                                                       Jeong Decl. ⁋5; Interfocus’
          to be resolved, even after the seven business days to
  7                                                                    Sealed Exhibit 3 and
          “cure”. Interfocus may or may not decide there is any
  8                                                                    Redacted Exhibit 2.
          infringement and therefore, it may or may not take
  9
          down the accused garments. With that, the Parties were
 10
          to negotiate the settlement.
 11
          24. Further, Section 6 also states; 1
 12                                                                    Jeong Decl. ⁋6; Interfocus’
                        “The Parties agree to make good faith
 13                                                                    Sealed Exhibit 3 and
                        efforts to settle all future disputes (if
 14                                                                    Redacted Exhibit 2.
                        any). For instance, the Parties optionally
 15                     may enter into commercially feasible
 16                     transactions, such as a license agreement
 17                     for the sale of the garments bearing
 18                     Plaintiff’s designs by InterFocus.”
 19       25. If the Parties really intended “cure” to mean
                                                                       Jeong Decl. ⁋7.
 20       “complete release from liability by taking down the

 21       garments from the website”, Section 6 would have not

 22       needed at all. The same settlement agreement in the

 23       same section 5 and the subsequent section 6 expressly
          and clearly state, at least twice that there would be
 24
          disputes, which the parties were to try to settle in “good
 25
          faith” “amicably”.
 26

 27
      1
             For unknown reason, while unilaterally disclosing, without Neman Brother’s consent,
 28
      Sections 5 and 7, Interfocus redacted Section 6.
                                                       -9-
       INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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  1       26. The settlement agreement as a contract is clear as to
                                                                        Jeong Decl. ⁋8.
  2       what the parties intended and what “cure” would mean.
  3       While “cure” was not a good choice 2 of a word, the
  4       parties still made it clear as to what and how to be done

  5       when there would be a subsequent infringement after

  6       the execution of the settlement, that is, giving seven

  7
          business days to Interfocus to take down the accused
          garment, taking 30 days to negotiate the settlement, and
  8
          if no settlement, Neman Brothers may file a suit.
  9
             27. Even assuming arguendo the above is still not
 10                                                                     Jeong Decl. ⁋9.
                 sufficiently clear but uncertain, the analysis
 11
                 discussed below, pursuant to the applicable
 12
                 statutes and the case law, would again make it
 13
                 clear that Interfocus is playing a word game in
 14
                 bad faith.
 15
             28. After receiving Neman Brothers’ cease and desist
 16                                                                     Jeong Decl. ⁋10; Exhibit 33.
                 letter, Interfocus wrote a reply letter on October
 17              5, 2021. After confirming “InterFocus promptly
 18              removed the product listings at issue”, the letter 3
 19              on the second page stated;
 20

 21

 22

 23   2
             The term “cure” was put by Interfocus while negotiating on the drafts. Submitted herewith
 24 as Exhibit 26 is a true and correct copy of Email from Interfocus Counsel with Settlement Draft 1
    in the Prior Case.
 25
    3        The writer of the said letter was Ms. Linna Chen who represented Interfocus during the
 26 negotiation of the settlement agreement in the prior case and during the negotiation of the
    subsequent infringement before filing this case. Mr. Mark Lee was retained for Interfocus for the
 27 first time, after February 2, 2021, about two months after this case was filed. Exhibit 41.

 28 Submitted herewith as Exhibit 41 is a true and correct copy of Mr. Mark Lee’s Email dated
      February 2, 2021.                    -10-
          INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
              LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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  1
          “As a gesture of good faith and in accordance with
  2
          Section 6 of the parties' Settlement Agreement and
  3
          Mutual Release dated March 23, 2020, InterFocus
  4
          provides the following summary information
  5
          regarding sales 4 of the articles at issue that were
  6
          made on the PatPat platfonn.” (emphasis added)
  7
          29. The same letter at the end also stated;
  8                                                                 Jeong Decl. ⁋12; Exhibit 33;
                         i. “InterFocus has removed the
  9                                                                 Exhibit 31.
                            product listings identified in your
 10
                            letter and is further prepared to
 11
                            pay to your client its entire profit
 12
                            [amount redacted] from sales of the
 13                         articles at issue. Please let us know
 14                         if you agree.” (emphasis added)
 15       In addition, in the subsequent negotiations,
 16       Interfocus indicated again that Interfocus knew what
 17       Sections 5 and 6 meant and that “cure” did not mean
 18       release from infringement liabilities. In emails on

 19       September 18, 2020 and September 29, 2020,
          Neman Brothers’ counsel Mr. Jeong wrote “Please
 20
          email me the records of purchase and sale so that we
 21
          can discuss the settlement” and “10/15 is the last day
 22
          we can settle by, before filing a lawsuit. I did not
 23
          receive any sale/purchase records.”
 24

 25   4
            Interfocus’ witness Weiwei Le also admits in her declaration that after she personally
 26 reviewed the cease and desist letter and saw Neman Brothers’ counsel arguing about “additional
    copyright infringements”, she “requested that I be provided with all available information
 27
    concerning the extent of such sales” which would have not been needed had she really thought
 28 Interfocus’ cure would bar Neman Brothers’ claims. Decl. of Weiwei Le (Docket 35-1), ⁋⁋6-7.
                                                    -11-
     INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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  1      30. In response, Interfocus counsel wrote “We have
                                                                  Jeong Decl. ⁋14; Exhibit 31.
  2         compiled the sales information and are preparing
  3         a response to you.”
  4      31. After receiving from Neman Brothers’ counsel
                                                                  Jeong Decl. ⁋15; Exhibit 34;
  5         the counteroffer with the arguments about
                                                                  Exhibits 32.
  6         Interfocus’ willful infringement liability under
            Unicolors, Inc. v. UrbanOutfitters, Inc., 853 F.3d
  7
            980, 991-92 (9th Cir. 2019), Interfocus counsel
  8
            Mr. David Yang stated “InterFocus has already
  9
            taken down the items identified in your letter.
 10
            There is thus no need for your client to rush to
 11
            file a new lawsuit. With all due respect, we
 12
            would consider a rush to the courthouse to be
 13         inconsistent with the two sides' agreement to
 14         make good faith efforts to settle their future
 15         disputes.” Exhibit 34. He also wrote to suggest
 16         “to negotiate a business deal rather than to have
 17         the two sides waste time and money on
 18         litigation” and then, suggested to combine the

 19         settlement with the license deal to fill the gap of

 20         the offered amounts between the parties.
         32. On November 12, 2020, the counsels for the
 21                                                               Jeong Decl. ⁋16; Exhibit 35.
            parties had a telephone conversation, and next
 22
            day, Ms. Chen wrote “Nice talking to you
 23
            yesterday. I look forward to (1) the proposed
 24
            settlement agreement, and (2) example Neman
 25
            Brothers' design files.”
 26
         33. At the said teleconference, the parties reached an
 27                                                               Jeong Decl. ⁋17.
            agreement on the amount and major terms of the
 28
                                       -12-
      INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
          LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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  1         licensing. Neman Brothers’ counsel then sent a
  2         settlement draft by making changes to the prior
  3         settlement agreement putting the agreed-upon
  4         amount and adding the terms of the licensing.

  5      34. The draft provided;
                                                                  Jeong Decl. ⁋18; Exhibit 36.
  6                      WHEREAS, on or about September
                         15, 2020, Plaintiff served a cease and
  7                      desist letter to Defendant [Interfocs]
                         pursuant to section 5 of the prior
  8                      settlement agreement (“Prior
  9                      Settlement Agreement”) executed in
                         March 2020, regarding certain
 10                      garments displayed and sold at
 11
                         Defendant's website. ww.patpat.com
                         ("Website") which Plaintiff believed
 12                      to have infringed upon its copyrights
                         for certain designs as specified
 13                      therein (the "Dispute");
 14                      WHEREAS, the Parties now desire
                         to resolve all disputes. and enter a
 15                      Licensing agreement between them
                         in an orderly manner…
 16
         35. In returning the draft after their review,
 17                                                               Jeong Decl. ⁋20; Exhibit 37.
            Interfocus did not make any change to the above
 18         “Whereas” clauses or the amount while making
 19         changes to the terms of the licensing. As this
 20         time, the new settlement was to include the
 21         licensing, the sections 5 and 6 from the prior
 22         settlement agreement were mostly deleted. In the
 23         course of the negotiations, Neman Brothers in

 24         good faith emailed multiple designs and its

 25         copyright registrations for Interfocus’ review.
            However, in the end, after wasting two months
 26
            until November 2020, Interfocus refused to sign
 27
            the settlement with no explanation.
 28
                                       -13-
      INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
          LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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  1      36. NEVER did Interfocus argued that all of the
                                                                   Jeong Decl. ⁋21.
  2         copyright infringement were “cured”, throughout
  3         the whole negotiation from September 15 until
  4         November 18, 2020. Rather, Interfocus knew

  5         what it agreed to, and did negotiate the settlement

  6
            pursuant to Sections 5 and 6 of the prior
            settlement agreement. It was only after this
  7
            lawsuit was filed and the new counsel Mr. Mark
  8
            Lee appeared in this case, when Interfocus at a
  9
            sudden started making the frivolous argument for
 10
            “cure”, which is nothing but a word play.
 11
         37. When settling the Prior Case, Ms. Chen for
 12                                                                Jeong Decl. ⁋22; Exhibit 26;
            Interfocus made the first draft. In her first draft,
 13                                                                Exhibit 27, sections 5 and 7.
            she stated at the end of Section 5 “Plaintiff
 14         further agrees not to seek further remedies
 15         including legal remedies once Defendant has
 16         cured the alleged infringement by removing the
 17         allegedly infringed products and/or designs…”
 18         (emphasis added). Then, Neman Brothers’
 19         counsel deleted the said part, and added to the
 20         end of Section 6 to limit the scope of the release

 21         “…to the extent it relates to the past sale of the

 22         gaiments by Interfocus, shown in Exhibits C-1

 23
            through C-7 attached to the complaint (Docket
            No. 1) in the Action as of 11/26/2019.”
 24

 25      38. In addition, according to Interfocus                  Decl. of Weiwei Le (docket
 26         interpretation of “Cure”, Interfocus is free to use    no. 35-1), ⁋3.
 27         Neman Brothers’ designs as long as they don’t
 28
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  1         get caught, and even if getting caught, Interfocus
  2         should be find as long as it removes the garments
  3         within seven days after notice, which is a de
  4         facto unlimited license. Interfocus here also says
  5         Neman Brothers received only “Nuisance Value”
  6         in return for such an unlimited license which
  7         makes no reasonable sense.
  8
         39. Further, for competitiveness in the market,          Neman Decl. ⁋6.
  9
            Neman Brothers either internally creates, or
 10
            purchases the ownership from design studios,
 11
            two-dimensional works of art for use on textiles
 12
            which Neman Brothers customers use to make
 13
            garments to be sold to retail businesses.
 14

 15      40. Unauthorized use of Neman Brothers' designs          Neman Decl. ⁋7.
 16         undermines its competitive advantage in a highly
 17         competitive industry. Therefore, for protection of
 18         the designs, Neman Brothers routinely registers
 19         new artworks as a collection for copyrights with
 20         the U.S. Copyright Office before introducing
 21         them to the market. Unfortunately, as there are
 22         many businesses selling illegal copies, some
 23         willful infringers and some innocent infringers,
 24         Neman Brothers get to find many illegal copies,
 25         and for protection of its copyrights, has had to
 26         file numerous cases when the parties could not
 27         settle the matter prior to filing the actions. Most
 28
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  1         of the cases settled. In none of the settlement
  2         agreements in those cases, Neman Brothers never
  3         agreed the defendants’ liability for future
  4         infringements would be completely released as
  5         long as the defendants remove the future
  6         infringing garments off their selves or website
  7         because it would be like giving a permanent
  8         unlimited license for free unless the defendants
  9         pay fair amount in return for such quasi-license.
 10
         41. Then, Ms. Chen again put in the draft “Plaintiff    Jeong Decl. ⁋23; Exhibit 28,
 11
            further agrees that for any infringement incurred    section 5.
 12
            after the Effective Date, Defendant's legal
 13
            obligation is limited to (1) removing any
 14
            infringing products and/or design from its
 15
            website and social media account within the time
 16
            limit as specified in this Agreement; and (2)
 17
            providing Plaintiff all profit made by
 18
            Defendant relating to the infringed products
 19
            and/or designs.” (emphasis added).
 20

 21      42. Interfocus accepted the addition to Section 6. Mr. Jeong Decl. ⁋24; Exhibit 28,
 22         Jeong again deleted Ms. Chen’s addition, and in      section 6; Exhibit 29.
 23         his email stated “Plaintiff will not waive any
 24         rights about the future actions if any. We
 25         never do that unless Defendant pays more for it.
 26         If your client can pay 100k, my client can give an
 27         unlimited license to use the designs to sell the
 28
                                       -16-
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  1         garments through Patpat website. Otherwise,
  2         there is no reason for Plaintiff to waive its right
  3         to sue your client for future infringements.”
  4         (emphasis added).
  5      43. Interfocus accepted the changes.
                                                                  Jeong Decl. ⁋25; Exhibit 30.
  6

  7      44. As stated in the email, there was no special         Jeong Decl. ⁋26.
  8         circumstances to give Interfocus a de facto
  9         permanent and unlimited license to use Neman
 10         Brothers’ design until it gets caught without
 11         having to pay any damages. The Prior Case was
 12         one of the typical copyright infringement cases,
 13         and the Settlement Funds to be paid was not big
 14         enough to cover such a de facto license to
 15         Interfocus. Given the above, from the time of
 16         negotiating the agreement, and even thereafter,
 17         receiving the cease and desist letter on September
 18         15, 2020, throughout the whole time, it was very
 19         clear between the parties, there was no release
 20         whatsoever as to the future infringements
 21         subsequent to March 2020.
 22      45. Interfocus’ interpretation of “cure”, if followed,
                                                                  Jeong Decl. ⁋27.
 23         would result in that no matter how many
 24         infringements for how much and how often,
 25         Interfocus would be fine as long as it takes down
 26         the accused garments within seven business days

 27         after receiving the Neman Brothers’ notice. It

 28         only paid $15,000 for a settlement of a litigation,
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  1            which Interfocus claims to be the payment for a
  2            de facto permanent and unlimited license to
  3            use for sale on their website until the time it gets
  4            caught. 5 If followed, it would be a forfeiture of

  5            Neman Brothers’ rights to take necessary actions

  6            to protect its copyrights and seek damages

  7
               provided by the U.S. Copyrights Acts.
            46. As discussed above, in the course of the
  8                                                                   Jeong Decl. ⁋28.
               negotiations, Neman Brothers in good faith tried
  9
               to settlement the matters by even combining it
 10
               with a licensing. It even emailed multiple designs
 11
               and its copyright registrations for Interfocus’
 12
               review. However, in the end, after wasting two
 13
               months until November 2020, Interfocus refused
 14
               to sign the settlement with no explanation.
 15         47. The above made it clear Interfocus was playing
                                                                      Jeong Decl. ⁋29.
 16            only a delay game with no good faith efforts to
 17            settle, and would do the same even if Neman
 18            Brothers starts over with the issue of the
 19            Infringing Garment 3, which would be nothing
 20            but a waste of time only to repeat the same

 21            discussion that Interfocus frustrated. It forms a

 22            material breach as to the Infringing Garments 1
               and 2, and a repudiation as to the Infringing
 23
               Garment 3.
 24
            48. Infringing Garment 3 was found in October
 25                                                                   Jeong Decl. ⁋30.
               2021, and was discussed and agreed to be
 26

 27
      5
 28          Ironically, Interfocus agreed to $85,000 for the settlement of the pending infringement
      issues with the licensing only for two years. Exhibit
                                                      -18- 37.
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  1         covered by Section 8 (Mutual Release) of the
  2         final draft of the subsequent settlement which
  3         specified the release to be given to Interfocus to
  4         the extent it relates to the past sale of the

  5         garments through the Website on or before the

  6
            Effective Date, which was defined to be the full
            execution date in November 2020. Exhibit 37.
  7
         49. As Interfocus complained of it, Neman Brothers’
  8                                                                 Jeong Decl. ⁋31.
            counsel offered to voluntarily dismiss without
  9
            prejudice the claim on the Infringing Garment 3
 10
            and start over the procedure under Sections 5 and
 11
            6 as to the Infringing Garment 3, but Interfocus
 12
            also refused to do so. On February 2, 2021, when
 13         Mr. Mark Lee contacted Mr. Jeong for the first
 14         time to request a stipulation to extend the due
 15         date to file the answer, and until the time of filing
 16         the answer and the counterclaim on February 19,
 17         2020 (Dockets 17 and 18), Mr. Lee never
 18         attempted to confer on the issue of Infringing

 19         Garment 3. After filing the pleadings, Mr. Lee

 20         refused to stipulate to the dismissal of the related
            claim without prejudice.
 21
         50. Interfocus’ argument based on the case against
 22                                                                 Jeong Decl. ⁋32; Exhibit 38,
            One Step Up (“OSU Matter”) (2:17-cv-6400-
 23                                                                 p. 5 of 8.
            RGK-SS) is misplaced and off the points of this
 24
            case. In the OSU Matter, as the court’s ruling
 25
            clearly stated the settlement agreement at issue
 26
            provided a release to the OSU to the extent it was
 27
            specified in Section 2. Submitted herewith as
 28
                                       -19-
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  1         Exhibit 38 is a true and correct copy of the
  2         Ruling on the MSJ in Neman Brothers v. One
  3         Step Up.
  4      51. The said agreement stated the release applies to
                                                                 Jeong Decl. ⁋33; Exhibit 38,
  5         “all claims that Neman Brothers "may have in
                                                                 p. 5-6 of 8.
  6         com1ection with any conduct involving the
            Accused Ga1ments, to the extent such conduct
  7
            pe1tains to the goods set forth or described in
  8
            Section 2 above .... " Therefore, the question was
  9
            whether the accused garments at issue were part
 10
            of the 18,400 garments specified in Section 2.
 11
         52. In this case, however, the release was given “to
 12                                                              Jeong Decl. ⁋34; Defendant’s
            the extent it relates to the past sale of the
 13                                                              Redacted Exhibit 2, Section
            garments by InterFocus, shown in Exhibits C-1
 14                                                              7; Exhibit 33, p.2-3; Exhibit
            through C-7 attached to the complaint (Docket
 15         No. 1) in the Action filed on 11/26/2019.” The       22, p.2.

 16         prior settlement agreement was executed as of
 17         March 2020. Therefore, the question is whether
 18         the Infringing Garments sold after March 2020.
 19         As admitted in Interfocus counsel’s letter in

 20         October 2020, the said garments were uploaded
            for sale after March 2020 and until September
 21
            2020: Infringing Garment 1 (both navy and red)
 22
            on July 1, 2020, Infringing Garment 2 on June
 23
            19, 2020. As discussed above, the Infringing
 24
            Garment 3 was on the Interfocus Website as of
 25
            October 2020 so that Neman Brothers could
 26
            actually purchase the garment. Further, one of the
 27
            caretags showing the production information
 28
                                       -20-
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  1         indicated “Made in China 202008”. Accordingly,
  2         the pending claims in this case are not barred by
  3         the release that was applicable to the sale in or
  4         before March 2020.

  5

  6

  7                    NEMAN BROTHERS’ CONCLUSIONS OF LAW

  8
        1. A settlement agreement is treated as any other contract for purposes
  9
           of interpretation. Adams v. Johns–Manville Corp., 876 F.2d 702, 704 (9th
 10        Cir.1989). Under California law, the intent of the parties determines the meaning of
 11        the contract. Cal. Civ. Code §§ 1636, 1638. The relevant intent is “objective”—that
 12        is, the intent manifested in the agreement and by surrounding conduct—rather than
 13        the subjective beliefs of the parties. Lawyer's Title Ins. Co. v. U.S. Fidelity & Guar.
 14        Co., 122 F.R.D. 567, 569 (N.D.Cal.1988); Beck v. American Health Group
 15        Int'l, 211 Cal.App.3d 1555 (1989). For this reason, the true intent of a party is

 16        irrelevant if it is unexpressed. Union Bank v. Winnebago Indus., 528 F.2d 95, 99
           (9th Cir.1975); Mill Valley v. Transamerica Ins. Co., 98 Cal.App.3d 595 (1979)
 17

 18
        2. Where the language of a contract is clear and not absurd, it will be followed. Civ. C.
 19
           §1638 (West 2021); see Pierce v. Merrill (1900) 128 Cal. 464, 472. If the meaning
 20
           is uncertain, the general rules of interpretation are to be applied. Civ. C. §1637
 21
           (West 2021); see Burns v. Peters (1936) 5 Cal. 2d 619, 623. When a contract is
 22
           reduced to writing, the parties' intention is ascertained from the writing alone, if
 23
           possible, subject to other provisions governing interpretation. Civ. C. 1639 (West
 24        2021).
 25     3. Acts of the parties, subsequent to the execution of the contract and before any
 26        controversy has arisen as to its effect, may be looked to in determining the
 27        meaning. “This rule of practical construction is predicated on the common sense
 28        concept that ‘actions speak louder than words.’ Words are frequently but an
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  1            imperfect medium to convey thought and intention. When the parties to a contract
  2            perform under it and demonstrate by their conduct that they knew what they were
  3            talking about the courts should enforce that intent.” (emphasis added) Crestview

  4            Cemetery Assn. v. Dieden (1960) 54 Cal. 2d 744, 754; see CACI, No.

  5            318 6 [Interpretation—Construction by Conduct]; Southern Pac. Trans. Co. v. Santa
               Fe Pac. Pipelines (1999) 74 Cal.App.4th 1232, 1242 (conduct of parties to
  6
               agreements by pipeline company to pay rent for easements on railroad right-of-way
  7
               had to be considered on issue of valuation); Alameda County Flood Control &
  8
               Water Conservation Dist. v. Department of Water Resources (2013) 213
  9
               Cal.App.4th 1163, 1196 (any ambiguity regarding allocation of proceeds or value of
 10
               system power pool sales or trades in state water project contract was clarified by
 11
               course of dealing between parties); see also 5 Corbin (Rev. ed.), § 24.16. “In
 12
               construing contract terms, the construction given the contract by the acts and
 13            conduct of the parties with knowledge of its terms, and before any controversy
 14            arises as to its meaning, is relevant on the issue of the parties' intent.” (emphasis
 15            added) Southern Pacific Transportation Co. v. Santa Fe Pacific Pipelines, Inc.
 16            (1999) 74 Cal.App.4th 1232, 1242.
 17         4. “A contract must be so interpreted as to give effect to the mutual intention of the
 18            parties as it existed at the time of contracting. Civ. C. §1649 (West 2021). “A

 19            contract may be explained by reference to the circumstances 7 under which it was
               made, and the matter to which it relates.” (emphasis added) Civ. C. §1647 (West
 20
               2021). “For the proper construction of an instrument, the circumstances under
 21
               which it was made, including the situation of the subject of the instrument, and of
 22

 23

 24   6
          The jury instruction states “In deciding what the words in a contract meant to the parties,
    you may consider how the parties acted after the contract was created but before any
 25
    disagreement between the parties arose.” (emphasis added)
 26 7      When two equally plausible interpretations of the language of a contract may be
 27 made, parol evidence is admissible to aid in interpreting the agreement, thereby presenting
    a question of fact that precludes summary judgment if the evidence is contradictory.
 28
    WYDA Associates v. Merner (1996) 42 Cal.App.4th 1702, 1710.
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  1        the parties to it, may also be shown, so that the Judge be placed in the position of
  2        those whose language he is to interpret.” (emphasis added) C. Civ. Proc. §1860
  3        (West 2021).

  4     5. There are precedent cases where the parties had disputes due to a poor choice of

  5        word or even a mistake. “If necessary to carry out the intention of a contract, words
           may be transposed, rejected, or supplied, to make its meaning more clear.”
  6
           (emphasis added) Heidlebaugh v. Miller (1954) 126 Cal.App.2d 35, 38. For
  7
           example, in Vandenbergh v. Davis, plaintiff executed a 3-year lease to defendant of
  8
           the second floor of a 3-story building. The lease, prepared by a realtor, contained a
  9
           lessor's covenant giving the lessee the “first refusal” to lease the third floor at not
 10
           over $100 monthly rental, and a right to occupy that floor until “lessor leases” it
 11
           and “lessee has refused to lease same.” Defendant took the position that he was not
 12
           required to exercise his right of refusal until plaintiff actually signed a lease to a
 13        third party. Accordingly, he occupied the third floor for 2 years without paying rent.
 14        Meanwhile, plaintiff did have bona fide offers to lease, but defendant refused to
 15        allow the prospects to view the premises. The court held defendant was liable as a
 16        tenant at sufferance from the time he refused to rent. To avoid absurdity, the phrase
 17        “lessor leases” was construed as “layman's shorthand” for “has an offer to lease.”
 18        Vandenbergh v. Davis (1961) 190 Cal.App.2d 694, 698. Likewise, in Heidlebaugh,

 19        a conditional sales contract (a commercial printed form) provided that, on default,
           the seller could sell “with or with notice.” The sale was challenged for failure to
 20
           give notice to the buyer. The court pointed to several provisions in the agreement
 21
           reading “with or without,” and held that the phrase in question was an inexplicable
 22
           redundancy resulting from an obvious printer's error. Accordingly, the omitted
 23
           letters “out” were supplied by interpretation. Heidlebaugh, supra, 126 Cal.App.2d
 24
           at 38.
 25
        6. Forfeitures are disfavored; hence a contract, and conditions in a contract, will if
 26
           possible, be construed to avoid a forfeiture. Civ. C. §1442 (West 2021);
 27        see Ballard v. MacCallum (1940) 15 C.2d 439, 444. In Hawley, plaintiff contracted
 28        to build a sewer line. The work was substantially delayed because of defendant
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  1        district's failure to promptly correct a mistake in its plans. n this action for breach, a
  2        nonsuit was granted on the ground that the contract contained a “no damage for
  3        delay clause” that authorized only an extension of time but no damages. The

  4        appellate court reversed it. The clause had the effect of imposing a forfeiture; such

  5        a clause is strictly construed. Hawley v. Orange County Flood Control Dist. (1963)
           211 Cal.App.2d 708, 713.
  6
        7. The important question is whether a particular breach will also give the injured
  7
           party the right to refuse further performance on his or her own part, i.e., to terminate
  8
           the contract. The test is whether the breach is material, and a total or complete
  9
           breach is of course material justifying the other party’s refusal to perform. Whether
 10
           a partial breach is material depends on the importance or seriousness thereof and the
 11
           probability of the injured party getting substantial performance. Superior Motels v.
 12
           Rinn Motor Hotels (1987) 195 Cal.App.3d 1032, 1052. Where defendant buyer's
 13        delay in tendering the balance due under a contract for the sale of stock were held to
 14        justify plaintiff's treating the breach as total, despite defendant's frequently
 15        expressed willingness to perform. Sackett v. Spindler (1967) 248 Cal.App.2d 220,
 16        229.
 17

 18

 19 Dated: July 26, 2021                               RESPECTULLY SUBMITTED,
                                                       Respectfully submitted,
 20
                                                      _/s/Chan Yong Jeong______
 21                                                    Chan Yong Jeong, Esq.
                                                       Attorney for Plaintiff
 22

 23

 24

 25

 26

 27

 28
                                       -24-
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